                        Case 1:22-mj-00203-GMH Document 1 Filed 09/12/22 Page 1 of 1
 AO 91 (Rev. 11/11) Criminal Complaint



                                         UNITED STATES DISTRICT COURT
                                                                          for the
                                                                 District of &ROXPELD

                   United States of America                                  )
                                        v.                                   )      Case: 1:22−mj−00203
Joseph Brody, (DOB: XXXXXXXXX)                                               )      Assigned To : Judge Harvey, G. Michael
Paul Ewald Lovley , (DOB: XXXXXXXX)                                          )      Assign. Date : 9/12/2022
Thomas Carey, (DOB: XXXXXXXX),                                               )      Description: Complaint w/ Arrest Warrant
Gabriel Chase, (DOB: XXXXXXXX),                                              )
Jon Lizak, (DOB: XXXXXXXX)                                                   )
                            Defendant(s)


                                                      CRIMINAL COMPLAINT
            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
  On or about the date(s) of                      January 6, 2021                   in the county of                                              in the
                          LQWKH'LVWULFWRI        &ROXPELD , the defendant(s) violated:

   Code Section                                                             Offense Description
   18 U.S.C. § 231(a)(3)- Civil Disorder (Brody);
   18 U.S.C. § 111(a)(1)- Assaulting, Resisting, or Impeding Certain Officers (Brody);
   18 U.S.C. § 1512(c)(2)- Obstruct, influence, or impede any official proceeding (Brody);
   18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds (Brody, Lovley, Carey, Chase, Lizak);
   18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
   40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building (Brody, Lovley, Carey, Chase, Lizak) ;
   40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building (Brody, Lovley, Carey, Chase, Lizak).




           This criminal complaint is based on these facts:
    6HHDWWDFKHGVWDWHPHQWRIIDFWV




           9
           u   Continued on the attached sheet.


                                                                                                           Complainant’s signature

                                                                                                                    , Special Agent
                                                                                                            Printed name and title
  $WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
  E\WHOHSKRQH
                                                                                                                        Digitally signed by G. Michael
                                                                                      G. Michael Harvey Harvey
                                                                                                                        Date: 2022.09.12 16:32:43 -04'00'
 Date:             09/12/2022
                                                                                                              Judge’s signature

 City and state:                         :DVKLQJWRQ'&                                 G. Michael Harvey, U.S. Magistrate Judge
                                                                                                            Printed name and title
